        Case 23-41386                 Doc 55         Filed 10/31/23 Entered 10/31/23 12:09:23                       Desc Ch 7 First
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Information to identify the case:

Debtor 1:
                      Sidhartha Mukherjee                                        Social Security number or ITIN:   xxx−xx−1040
                                                                                 EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

Debtor 2:             Sunita Mukherjee                                           Social Security number or ITIN:   xxx−xx−5871
(Spouse, if filing)                                                              EIN: _ _−_ _ _ _ _ _ _
                      First Name   Middle Name   Last Name

United States Bankruptcy Court:        Eastern District of Texas                 Date case filed in chapter:        13     7/31/23
                                                   Date case converted to chapter:
Case number:23−41386                                                               7                                      10/31/23

Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                         10/20


For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.
The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                      About Debtor 2:

1.        Debtor's full name                     Sidhartha Mukherjee                                  Sunita Mukherjee

2.        All other names used in the dba Sri Laxmi Global Investment                                 dba Dallas Creative Remodelers
          last 8 years

3.      Address                                  3905 Kite Meadow Drive                               3905 Kite Meadow Drive
                                                 Plano, TX 75074                                      Plano, TX 75074

4.      Debtor's attorney                        James M. Morrison                                    Contact phone 469−646−8995
                                                 Lee Law Firm, PLLC
        Name and address                         8701 W. Bedford Euless Rd.                           Email: ecf@leebankruptcy.com
                                                 Suite 510
                                                 Hurst, TX 76053

5.      Bankruptcy trustee                       Christopher Moser                                    Contact phone (214) 880−1805
                                                 2001 Bryan Street, Suite 1800
        Name and address                         Dallas, TX 75201                                     Email: cmoser@qslwm.com
                                                                                                               For more information, see page 2 >
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Debtor Sidhartha Mukherjee and Sunita Mukherjee                                                                                                    Case number 23−41386


6. Bankruptcy clerk's office                         Suite 300B                                                          Hours open:
                                                     660 North Central Expressway                                        8:00 − 4:00
     Documents in this case may be filed at          Plano, TX 75074
     this address. You may inspect all                                                                                   Contact phone (972)509−1240
     records filed in this case at this office or
     online at https://pacer.uscourts.gov.
                                                                                                                         Date: 10/31/23

7. Meeting of creditors                                                                                                  Location:
                                                     December 1, 2023 at 09:30 AM
     Debtors must attend the meeting to be                                                                               Telephonic Dial−In Information,
     questioned under oath. In a joint case,         The meeting may be continued or adjourned                           https://www.txeb.uscourts.gov/341info
     both spouses must attend. Creditors             to a later date. If so, the date will be on the
     may attend, but are not required to do          court docket.
     so.


8. Presumption of abuse                      Insufficient information has been filed to date to permit the clerk to make any
                                             determination concerning the presumption of abuse. If more complete information, when
     If the presumption of abuse arises, you filed, shows that the presumption has arisen, creditors will be notified.
     may have the right to file a motion to
     dismiss the case under 11 U.S.C. §
     707(b). Debtors may rebut the
     presumption by showing special
     circumstances.


9. Deadlines                                         File by the deadline to object to discharge Filing deadline: 1/30/24
                                                     or to challenge whether certain debts are
     The bankruptcy clerk's office must              dischargeable:
     receive these documents and any
     required filing fee by the following
     deadlines.
                                                     You must file a complaint:
                                                     • if you assert that the debtor is not entitled to receive a discharge of any debts under any of the
                                                       subdivisions of 11 U.S.C. § 727(a)(2) through (7), or

                                                     • if you want to have a debt excepted from discharge under 11 U.S.C § 523(a)(2), (4), or (6).

                                                     You must file a motion:
                                                     • if you assert that the discharge should be denied under § 727(a)(8) or (9).


                                                     Deadline to object to exemptions:                                   Filing deadline: 30 days after the conclusion
                                                     The law permits debtors to keep certain property as                 of the meeting of creditors
                                                     exempt. If you believe that the law does not authorize
                                                     an exemption claimed, you may file an objection.


10. Proof of claim                                   No property appears to be available to pay creditors. Therefore, please do not file a proof
                                                     of claim now. If it later appears that assets are available to pay creditors, the clerk will
     Please do not file a proof of claim             send you another notice telling you that you may file a proof of claim and stating the
     unless you receive a notice to do so.           deadline.

11. Creditors with a foreign                         If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
    address                                          asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                                     United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                                  The law allows debtors to keep certain property as exempt. Fully exempt property will not
                                                     be sold and distributed to creditors. Debtors must file a list of property claimed as exempt.
                                                     You may inspect that list at the bankruptcy clerk's office or online at
                                                     https://pacer.uscourts.gov. If you believe that the law does not authorize an exemption that
                                                     the debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                     objection by the deadline to object to exemptions in line 9.
NOTICE: Pursuant to L.R.B.P. 6007 the Trustee may announce at this meeting his intention to abandon specific property of the estate having a total value of not more than
$1500.
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